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                    UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      SEP 04 2020
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 CITY AND COUNTY OF SAN                         No. 18-17308
 FRANCISCO,
                                                D.C. No. 3:17-cv-04642-WHO
               Plaintiff - Appellee,
                                                U.S. District Court for Northern
   v.                                           California, San Francisco

 WILLIAM P. BARR, Attorney General;             MANDATE
 et al.,

               Defendants - Appellants.




 STATE OF CALIFORNIA, ex rel.                   No. 18-17311
 XAVIER BECERRA, in his official
 capacity as Attorney General of the
                                                D.C. No. 3:17-cv-04701-WHO
 State of California,
                                                U.S. District Court for Northern
               Plaintiff - Appellee,            California, San Francisco

   v.

 WILLIAM P. BARR, Attorney General;
 et al.,

               Defendants - Appellants.


        The judgment of this Court, entered July 13, 2020, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.
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                                  FOR THE COURT:

                                  MOLLY C. DWYER
                                  CLERK OF COURT

                                  By: Craig Westbrooke
                                  Deputy Clerk
                                  Ninth Circuit Rule 27-7
